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 1027CMai«»teCtSterUngVlr^ida 20164 703-«93-1403 / 571-313-9353

 •veiomcamkariiiki@gmail.com


Executive Summary

Experienced IT resourcewith leadership andpractical experience in hardware, infrastructure,
communicationsandsoftware engineering. Independentself-starter with initiative and drive to achieve
results quickly. Excellent communication, sales, service, andclientmanagementskills. Consistentiyrated
highfor quality customerservice Effective working independentiy oras a team member with colleagues
and clientsofdiverse backgrounds and experiences. Currentiyseeking careeradvancement as a
consultant tohardware infrastructureandsoftware engineeringprojectsas a consultant to theorganization.
                    * Business Sales Mmagement
                    * Remote services andQa-site repairtechnician skills andknowledlge
                    * Geek Squad Supervisor- indivxiualized hardware testing, analysis, andrepair
                    • Lockheed Martin Software Engineer- software devebper, website designing,tester
                     • Talklyme Nstworx- self-motivator,self-starter, successful business owner
                     • Basma Communications- strongsales leading a^abilities, successful regional sales devebper

Technical Qualifications

UNIX, HP UX, A+, IC3, C-H*, C, JAVA, HTML, Photoshop, Flash, Dreamweaver, Technical
Service & Support for both Windows and Macintosh environments (WinXP, Vista, Win7, and Win
8 operating platforms and OSX platforms); Configure iOS and Android operating system devices;
ISficrosoft Outlook email client; Parallels, VM Ware, and other virtual environments; Manual Virus
Removal Skills, Hardware/Software Repair Skills, Data Migration Skills

Education


    •    Morgan State University Bachelor ofScience ComputerScience, ComputerProgramming

    •     University of Maryland University CollegeMaster ofScience ITMansgement/Business
          Mansgement

Staples, Inc. (July 2012 - Present)
Staples is the leading international business supply and technology organization.

Assistant Manager. Responsible for driving business results by delighting and engaging a team to
reach goals ofthe company and satisfying clients and customers while buUding a strong sales force
via technical and wireless services and top-line sales. Responsible for technical repairs and service
to clients both on-siteand in-store locations.
MicrosoACertiSed Windows 8 Consultant (Staples).
Perform on-sitetechnicalrepair servicesin client homesand offices as needed and required. Filter
client service calls and deliver solutions to client issues via phone.
Install and replace computerhardware and softwarefor TCs and Mac computersystems as
required.
Perform data backups and data transfer services Perform quality controlled inventory and
analysis of hardware and software client units.
Develop solid customer technical solutions
Create trouble tickets via OMS system to manage client service issues in a FIFO manner as well as
to update, track, resolve and complete tickets effectively.
Develop and build customer retention.


                                                                                                             EXHIBIT
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Geek Squad/Best Buy In«rR«ston, Va. (November            - July)
The Geek S<piad isa sut>si(^aiyofthe BestBty Company thatoffersvarious computer-relaied servicesandaccessories for
resident^ and commercial clients. The GeekSt^iad provides services in-store, on-site, and over the internet viaremote accxss.

Deputy of CounterIntelligence Agent (Supervisor) Introduced and trained clients on utilization of
various operating systems. Performed individualized hardware testing, analysis and repairas well as
determined root-cause issue. Duties also include Installing, updating, andtroubleshooting applications and
software packages. Motivate, manage; andpromote the daily operations ofa Geek SquadPrecinct
Supervise and motivate a technical team. Responsible fornetworking andinternet configurations,
conputer and hardware installations, con^uter repairand diagnostics, and remoteservices.

Highlights:
Best Buyis an authofized Apple Corporate Rasalier/aetalbi'. Developed a working knowledge ofiOS
and OSX operating systems. Install and repair OSX operating systems andhardware forApple computer
clients. Restore OSXandWindows operating systems to factory requirements. Update software packages
and deploy operating systems as needed.
Maintain, marn^e, andconfigure Androido^xdi^i^ systems, iOS operating systems, OSXoperating
systems and Windows operating systems for client use.
Requiredto buUd a successful departmentby structurallyattaining daily,weekly, and monthly revenue
goals/quotas.
Manegetheproductivityof 11 Technical SalesAgentsvia governed nietrics usedby company and client
satisfaction metrics.
Manege clientissues to develop a genuine levelof satisfaction& rapport between cHent & con^any.
Educate TechnicalSalesAgentsin serviceduties required to be productive whilemeeting expected turn-
times.
Delegate, coach and traindirect reportsto perfomi Dept. ofDefense drivewipesto effectively destroy
data and remnants ofclient information;
Coach and traindirect reports to perform memory andharddrive stress testing to detennine the
effectiveness ofRAM modules and hard drives.
ProvideIT supportservices suchasassist clients vyith Microsoft Outlook errorsand establishing email die
nt.
Assess anddiagnose clienthardwaie and software issues with othersoftware including QuickBooks and
Quicken.
Effectivelytrain and coacAdired; reportsto aaoumtsly perfoimhard drive repairson units with bad
sectors.
Coach andtraindirect reportsto accumtely perfonudata tfaiislbra/backups to protectclientinformation
while not transferring infected files to new media.
Recoverand install       systems including Win 7 and Win 8, Vista, XP, OS X.
Effectivelyperfonn virus removals bothmanually andvia several automated techniques.
Conducthardware repairs to standards of A+ (CompTIA) standards to conrect device issues including
motheiboardreplacementsand processor installations.
Coachand train direct reports to build complete,of«rable conqjutersystems for client use.

                   Employee Experience ComiMittee Capteia (December 20io-Januaty 2012)
                   Motivate & encourageover 100en^loyees to have a dynamic en5)loyee engagement
                   while working with Best Buy. Direct all employee functionsincluding volunteering
                   engagements forthe location.Develop and execute affairs forthe enployee andact as a
                    Haison between the enployees and the leadership staff. Meet weeklywii leadership staff
                    to discuss new avenues to conquer with employees in addition to issuing enployee
                    concerns and desires while still maintaining a great experiencein the worlq)lace. Results-
                    changed the employee view and moved the team 400 basis points to having a great work
                    environment.


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 Basma^municaaens.White Marsh, Md. RetaU Manager. rNovemher 2006 - Match 2007)
                                                                                 .ndmen^>elecon,n,unlc^lons


 VeriMii Wirebss. Bowie, Md. Technical Representative (Octoha- inn^-



 Talk Tyme Networx. Baltimore,Md Businesg Owner/Manager (January 1999- May 2001) Entrepreneur Venture
 Ownedandopermed aretail wireiesscommunications company.                                    omrepreneur venture.
 Lockheed Martin. Greenbelt. Maryland, Software Engineer (August 1996 - November 1997)
                                             fAa^en^ei int}^ research, design. deveJopment.manufacturing. intemtion.
 andsust^nmentofadvancedtechndogy systems, products, andservices in the US andabroad. The company's pi^anr b^inex
 segments areAeronautks. ElectrontSystems. Information Systems&Gbbal Sen^ices. andSpaceSystems

 Awards and Certifications

     • IC3 Certiport Computing Skills
     • Mortgage/Loan OfficerCertification
    • Maryland EDGE Business Center Entrepreneurial Award ofAchievement
    • Society forthe Advancanent ofCon^uterScience Award
    • NASA HighPerformanoe Supercomputing SI Scholarship
    • Gladys M. Finney Scholarship




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 REFERENCES




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